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 Name and address:
 Jennifer Kelleher Cloyd
 Law Foundation of Silicon Valley
 4 North Second Street, Suite 1300
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
Jenny L. Flores, et al.                                           CASE NUMBER:

                                                                                   2:85-cv-04544-DMG-AGR
                                                   PLAINTIFF(S)
                               v.

William P. Barr, et al.                                                       REQUEST FOR APPROVAL OF
                                                                            SUBSTITUTION OR WITHDRAWAL
                                                 DEFENDANT(S)                        OF COUNSEL

                                                      INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.
SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Jennifer Kelleher Cloyd                                                       CA Bar Number: 197348
Firm or agency: Legal Advocates for Children and Youth, The Law Foundation of Silicon Valley

Address: 4 North Second Street, Suite 1300

Telephone Number: (408) 280-2428                                     Fax Number:
E-mail: jenniferk@lawfoundation.org
Counsel of record for the following party or parties: Plaintiff class, Jenny L. Flores ,et al.




Other members of the same firm or agency also seeking to withdraw: Annette D. Kirkham(CA Bar 217958)
Katherine Manning (229233) were permitted to withdraw last week.


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SECTION II - NEW REPRESENTATION

        No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
        to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
        party or parties in this case, and who is a member in good standing of the Bar of this Court.
        The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
        proceed pro se, as self-represented litigants.

        The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
        who is a member in good standing of the Bar of this Court:

         Name:                                                                            CA Bar Number:
         Firm or agency:

         Address:

         Telephone Number:                                               Fax Number:
         E-mail:


SECTION III - SIGNATURES

Withdrawing Attorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.                                                          Digitally signed by Jennifer
                                                                                                  Kelleher
                                                                                                  Date: 2020.07.27 10:07:55
      Date: 7/27/2020                                Signature:                                   -07'00'

                                                     Name:         Jennifer Kelleher Cloyd

New Attorney (if applicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.


      Date:                                          Signature:

                                                     Name:

Party Represented by Withdrawing Attorney
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):
                                            substitution of counsel as specified above.
                                            representing myself pro se in this case.


      Date:                                          Signature:

                                                     Name:

                                                     Title:

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